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       8
                                       UNITED STATES BANKRUPTCY COURT
       9
                          EASTERN DISTRICT OF CALIFORNIA – SACRAMENTO DIVISION
       10

       11
            In Re:                                            Lead Case No.: 18-25524
       12
            RANDY GILBERT SHREVE and                          Adversary No.:
       13
            CAROLYN JOYCE SHREVE,                             Chapter 7
       14
                                   Debtors.                   WILLFUL AUTOMATIC STAY
       15                                                     VIOLATION (11 U.S.C. §362(a)(6) AND
                                                              §362(k))
       16

       17

       18   RANDY GILBERT SHREVE and
            CAROLYN JOYCE SHREVE,
       19                                                      Judge:       Hon. Michael S. McManus
       20                          Plaintiff,
       21            v.
       22
            SN SERVICING CORPORATION, AND
       23   DOES 1 THROUGH 10,
       24
                                   Defendants.
       25

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       27
                                                    JURISDICTION
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                           WILLFUL AUTOMATIC STAY VIOLATION (11 U.S.C. §§362(a)(6) and §362(k)) -1-
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       1         1. This Court has jurisdiction under the provisions of 28 U.S.C. §1334 because the
       2    automatic stay arises out of Title 11.
       3         2. Debtors/Plaintiffs Randy Gilbert Shreve and Carolyn Joyce Shreve (“Plaintiffs”) filed
       4    for bankruptcy protection under Chapter 7 of Title 11 on August 31, 2018, in the Eastern
       5    District of California, Sacramento Division and assigned case number 18-25524.
       6         3. Plaintiff is informed and believes, and thereon alleges, that Creditor/Defendant SN
       7    Servicing Corporation (“SN Servicing”) and maintains its principle office at 13702 Coursey
       8    Blvd, Bldg. Two, Baton Rouge, LA. 70817 1.
       9         4. Venue is proper under 28 U.S.C. §1409(a) because SN Servicing mailed Plaintiffs a
       10   Notice of Trustee’s Sale attempting to foreclose on real property. SN Servicing was well aware
       11   that Plaintiff was under the protection of the automatic stay of bankruptcy under 11 U.S.C.
       12   §362(a)(6). SN Servicing received notice of the §341(a) Meeting of Creditors via mailed notice
       13   from the Bankruptcy Noticing Center (“BNC”) sent on September 6, 2018.
       14

       15                                               NATURE OF CLAIM
       16        5. Plaintiff’s automatic stay claim is a core proceeding under 28 U.S.C. §15(b)(2) (see In
       17   re Gruntz, 202 F.3d 1074, 1081 (9th Cir. 2000); In re Goodman, 991 F.2d 613, 6117 (9th Cir.
       18   1993)) and plaintiff consents to entry of final orders and judgments by the Eastern District
       19   Bankruptcy Court in this adversary proceeding.
       20

       21                                          FACTUAL ALLEGATIONS
       22        6. This Complaint’s allegations are based upon the personal knowledge of the Plaintiffs’
       23   information and belief as to the acts and conduct of others.
       24        7. Plaintiffs filed his Chapter 7 bankruptcy case on August 31, 2018. Hank Spacone was
       25   assigned as the Chapter 7 trustee to administer the Plaintiffs’ bankruptcy estate. The
       26   commencement of this case ‘constitutes an order for relief.’
       27

       28

            1California   Secretary of State



                                 WILLFUL AUTOMATIC STAY VIOLATION (11 U.S.C. §§362(a)(6) and §362(k)) -2-
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       1         8. SN Servicing was sent actual notice of the automatic stay in Plaintiffs’ bankruptcy case
       2    from the BNC via United States first class mail on September 6, 2018.
       3         9. SN Servicing mailed a Notice of Trustee’s Sale of the Plaintiffs’ real property as listed
       4    in schedule A of their petition. The notice was mailed to Plaintiffs’ by SN Servicing on or
       5    about September 26, 2018. The notice states that a sale of the property is to be held on October
       6    22, 2018.
       7         10. SN Servicing has not taken any steps to seek relief from the automatic stay. The notice
       8    states “THIS FIRM IS ATTEMPTING TO COLLECT A DEBT AND ANY INFORMATION
       9    WE OBTAINED WILL BE USED FOR THAT PURPOSE.”
       10        11. Despite receiving notice that Plaintiffs have filed bankruptcy and that the automatic
       11   stay in Plaintiff’s case applied to Plaintiffs’ account with SN Servicing, they still took action to
       12   collect against a debt that arose before the commencement of the bankruptcy case.
       13        12. SN Servicing’s conduct as alleged above caused Plaintiffs significant stress, body
       14   tension, upset stomach, anxiety, and other emotional harm distinct from the inherent stress of
       15   the normal bankruptcy process.
       16

       17                                    FIRST CLAIM FOR RELIEF
       18                         (Violation of the Automatic Stay – 11 U.S.C. §362)
       19        13. Plaintiffs incorporate paragraphs 1-12 of his complaint by reference.
       20        14. 11 U.S.C. §362(a) imposed an affirmative duty to terminate all collection efforts
       21   against Plaintiff upon learning that he filed bankruptcy. Eskanos & Adler, P.C. v. Leetien, 309
       22   F.3d 1210, 1215 (9th Cir. 2002). Defendants’ violation of 11 U.S.C. §362(a)(6) as alleged
       23   above was “willful” as that term is defined in the Ninth Circuit because their acts and
       24   omissions were intentional, they had prior actual knowledge of the automatic stay, their
       25   conduct was unreasonable, and any alleged mistake of law was not a defense.
       26        15. Under 11 U.S.C. §362(k), Plaintiffs are entitled to compensation for actual damages,
       27   proportional punitive damages, and reasonable fees and costs from SN Servicing in amounts to
       28   be decided by the Court.



                           WILLFUL AUTOMATIC STAY VIOLATION (11 U.S.C. §§362(a)(6) and §362(k)) -3-
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       2            WHEREFORE, Plaintiffs request for the court to grant relief for Plaintiffs against SN
       3    Servicing as set forth below:
       4

       5                                         PRAYER FOR RELIEF
       6            After a stipulation or determination that Defendants willfully violated the automatic
       7    stay, Plaintiffs seeks relief as follows:
       8            Money Judgment in favor of Plaintiffs against SN Servicing for actual damages and
       9    punitive damages, and for reasonable fees and costs incurred prosecuting this adversary
       10   proceeding.
       11

       12                                                         SAGARIA LAW, P.C.
       13

       14   Dated: October 6, 2018                         By:    /s/ Kyle W. Schumacher _____
                                                                  Kyle W. Schumacher
       15
                                                                  Attorney for Debtors/Plaintiffs
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                           WILLFUL AUTOMATIC STAY VIOLATION (11 U.S.C. §§362(a)(6) and §362(k)) -4-
